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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


 TRUTEK CORP.,

            Plaintiff,

 v.                                      Case No. 2:21-cv-10312

 BLUEWILLOW BIOLOGICS, INC.;             Hon. F. Kay Behm
 ROBIN ROE 1 through 10, gender
 neutral fictitious names, and; ABC
 CORPORATION 1 through 10 (fictitious
 names).

            Defendants.



         DEFENDANT/COUNTER-PLAINTIFF BLUEWILLOW
          BIOLOGICS, INC.’S MOTION TO EXCLUDE THE
      EXPERT REPORT AND TESTIMONY OF AMIRALI Y. HAIDRI
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       Pursuant to Federal Rule of Evidence 702, controlling law, Daubert, and the

 Court’s inherent authority, Defendant/Counter-Plaintiff BlueWillow Biologics, Inc.

 (“BlueWillow”), by and through its undersigned counsel, Foley & Lardner LLP,

 respectfully moves to exclude the Responsive Expert Report and testimony of

 Amirali Y. Haidri, Esq. (“Haidri”) regarding patent invalidity.

       On January 17, 2023, BlueWillow’s counsel met and conferred with counsel

 for Plaintiff/Counter-Defendant Trutek Corp. (“Trutek”), explained the nature and

 bases of this Motion, and requested concurrence in the relief sought. Trutek did not

 concur.

       As explained in more detail in the accompanying Brief in Support, the Court

 must exclude the report and testimony of Haidri as: (1) his report consists entirely

 of inadmissible legal arguments; (2) Haidri is facially unqualified to provide

 technical expert testimony regarding the pertinent art, alleged invention, or accused

 product; and (3) Haidri’s opinions lack reference to a verifiable or testable

 methodology, let alone a sufficiently reliable methodology under Daubert.




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 Dated: March 15, 2023                Respectfully submitted,

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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


 TRUTEK CORP.,

            Plaintiff,

 v.                                      Case No. 2:21-cv-10312

 BLUEWILLOW BIOLOGICS, INC.;             Hon. F. Kay Behm
 ROBIN ROE 1 through 10, gender
 neutral fictitious names, and; ABC
 CORPORATION 1 through 10 (fictitious
 names).

            Defendants.



         BRIEF IN SUPPORT OF MOTION TO EXCLUDE THE
      EXPERT REPORT AND TESTIMONY OF AMIRALI Y. HAIDRI
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                      STATEMENT OF ISSUE PRESENTED

       1.     Whether the Court should exclude the expert report and testimony of

 Amirali Y. Haidri, Esq. as his report consists entirely of inadmissible legal

 argumentation that would not assist the trier of fact.

       BlueWillow’s answer: Yes.

       Trutek’s answer: No.

       2.     Whether the Court should exclude the expert report and testimony of

 Amirali Y. Haidri, Esq. as he does not qualify as an appropriate technical expert

 regarding the pertinent art, alleged invention, and accused product.

       BlueWillow’s answer: Yes.

       Trutek’s answer: No.

       3.     Whether the Court should exclude the expert report and testimony of

 Amirali Y. Haidri, Esq. as his opinions are not based on a verifiable or testable

 methodology, let alone a sufficiently reliable methodology under Daubert.

       BlueWillow’s answer: Yes.

       Trutek’s answer: No.




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                              I.    INTRODUCTION

       Amirali Y. Haidri, Esq.’s (“Haidri”) Report and proposed testimony is a

 textbook example of inadmissible opinion under Federal Rule of Evidence 702 and

 Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579 (1993). First, his Report

 consists entirely of legal argumentation that, definitionally, would not assist the

 trier of fact. Courts have consistently excluded similar backdoor attempts to

 introduce legal arguments through witness testimony—particularly that of

 attorneys related to patent invalidity. Second, Haidri does not qualify as an expert

 having ordinary skill in the relevant art. Indeed, Haidri is a patent attorney who

 lacks hands-on experience related to pharmaceuticals, nasal sprays, or product

 development. Third, Haidri’s Report does not identify a verifiable or testable

 methodology, let alone a sufficiently reliable methodology to survive Daubert. To

 the contrary, Haidri’s Report consists of legal opinions and self-serving ipse dixit.

 In addition, Haidri relies on fundamentally erroneous legal assumptions and

 unverified factual predicates. Each of these flaws, independently, require exclusion

 of Haidri’s report and testimony under Daubert.

                        II.    FACTUAL BACKGROUND

       BlueWillow is a clinical-stage biopharmaceutical company focused on

 developing intranasal vaccines. (ECF No. 9, Countercl., ¶ 6.) BlueWillow

 developed and sold NanoBio® Protect (“NanoBio”), an over-the-counter nasal



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 antiseptic that uses BlueWillow’s proprietary technology to deliver benzalkonium

 chloride, a common skin antiseptic that has been used for more than 75 years. (Id.

 ¶ 7.) NanoBio® Protect was discontinued and is no longer sold. (ECF No. 28, Mot.

 for Leave to File Am. Compl., p. 2; ECF No. 28-1, Kremen Decl., ¶ 7.)

       On February 10, 2021, Trutek filed suit alleging one count of infringement

 of United States Patent No. 8,163,802 (“’802 Patent”) against BlueWillow with

 respect to a single product, NanoBio. (ECF No. 1, Compl.). The ’802 Patent is

 attached as Exhibit 6 to the Complaint. (ECF No. 1-6.) Trutek alleges

 BlueWillow’s NanoBio directly infringes “at least claims 1, 2, and 7 of the [’802]

 Patent because the [NanoBio] products possess an electrostatic charge when

 applied to a person’s nasal passages, and they use benzalkonium chloride as a

 biocide.” (ECF No. 1, Compl., ¶ 30.) Representative claim 1 states:

          1. A method for electrostatically inhibiting harmful
          particulate matter from infecting an individual through nasal
          inhalation wherein a formulation is applied to skin or tissue of
          nasal passages of the individual in a thin film, said method
          comprising:

             a) electrostatically attracting the particulate matter to the
                thin film;

             b) holding the particulate matter in place by adjusting the
                adhesion of the thin film to permit said thin film to stick
                to the skin or tissue and by adjusting the cohesion of the
                formulation to provide adequate impermeability to the
                thin film; and,

             c) inactivating the particulate matter by adding at least one
                 ingredient that would render said particulate matter

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                 harmless.

 (ECF No. 1-6 (emphasis added).) Representative claim 2 provides:

           2. A formulation for electrostatically inhibiting harmful
           particulate matter from infecting an individual through nasal
           inhalation wherein the formulation is applied to skin or tissue
           of nasal passages of the individual in a thin film, said
           formulation comprising at least one cationic agent and at least
           one biocidic agent, and wherein said formulation, once applied:

              a) electrostatically attracts the particulate matter to the thin
                 film;

              b) holds the particulate matter in place by adjusting the
                 adhesion of the thin film to permit said thin film to stick
                 to the skin or tissue and by adjusting the cohesion of the
                 formulation to provide adequate impermeability to the
                 thin film; and,

              c) inactivates the particulate matter and renders said
                 particulate matter harmless.

 (Id. (emphases added).)

       Without a stretch of the imagination, one would expect that a technical

 expert in a case related to the alleged invention and accused product would have

 relevant technical experience in at least one or more of the following to be

 seriously considered as a qualified expert in this matter: (1) electrostatics, (2)

 pharmaceutical formulation and product development, (3) medicine, (4) infectious

 diseases, (5) topical drug application, (6) cationic agents, or (7) biocidic agents.

 A.    Dr. Amiji’s Reports (on Behalf of BlueWillow)

       BlueWillow submitted three expert reports from Dr. Mansoor M. Amiji,

 Ph.D. (“Dr. Amiji”): (1) Opening Expert Report, (see Ex. 1), on technical patent

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 invalidity issues related to (a) anticipation (Section 102) and obviousness (Section

 103), (b) subject matter eligibility (Section 101), and (c) utility, written description,

 and enablement (Section 112); (2) Responsive Expert Report to Edward Lemmo’s

 (“Lemmo”), Alexei Ermakov’s (“Ermakov”), and Shane Burns’ (“Burns”)

 Reports; and (3) Reply Report to Lemmo’s and Haidri’s Reports.

       Dr. Amiji graduated from Northeastern University with a Bachelor of

 Science in Pharmacy and is a Registered Pharmacist. (Ex. 1, Dr. Amiji Opening

 Report, ¶ 9.) He has a Ph.D. in Pharmaceutical Science/Pharmaceutics from the

 School of Pharmacy and Pharmaceutical Sciences at Purdue University. (Id.)

       Dr. Amiji worked as a Senior Research Scientist for Columbia Research

 Laboratories in Madison, Wisconsin, where he worked on polymeric delivery

 systems for various types of therapeutic agents, including those administered

 topically to skin and mucosal surfaces. (Id. ¶ 10.)

       Dr. Amiji is a Distinguished Professor, Professor of Pharmaceutical Sciences

 in the School of Pharmacy, and Professor of Chemical Engineering at Bouve

 College of Health Sciences at Northeastern University. (Id. ¶ 11.) Dr. Amiji has

 taught and conducted research in pharmaceutical sciences and served as Chairman

 of the Department of Pharmaceutical Science at Bouve. (Id.) Dr. Amiji has over 29

 years of experience in teaching drug formulations to undergraduate and graduate

 students in the areas of manufacturing and composition of pharmaceutical



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 formulations, delivery systems, and pharmacokinetics. (Id. at 12.) He a consultant

 to several pharmaceutical, biotechnology, and medical device companies regarding

 product development and drug delivery. (Id.)

       Dr. Amiji has published extensively and is ranked as a Thompson-Reuters

 Highly Cited (top 1%) author in Pharmacology and Toxicology, coauthoring over

 60 book chapters and 350 peer reviewed scientific articles. (Id. ¶¶ 13–14.)

 B.    Haidri’s Responsive Report

       Haidri’s Responsive Report to Dr. Amiji’s Opening Report on patent

 invalidity: (a) consists of purely legal arguments, many of which are based on the

 Manual of Patent Examining Procedure (“MPEP”), which is applicable to patent

 examiners at the U.S. Patent and Trademark Office (“USPTO”) but not binding on

 federal U.S. Courts1; (b) is not based on any technical expertise in the relevant

 field(s); and (c) lacks an identifiable or defensible methodology. (See Ex. 2).

       1.     Haidri’s Purely Legal Arguments

       Haidri’s Report reads like a legal brief, rather than a technical expert report

 describing admissible technical opinions on underlying factual issues related to

 patent invalidity. The content in the introductory sections of Haidri’s Report can be

 summarized as follows:

 1
   USPTO guidelines and the MPEP are not binding on courts. See Enzo Biochem,
 Inc. v. Gen-Probe, Inc., 323 F.3d 956, 964 (Fed. Cir. 2002); Hagenbuch v. Sonrai
 Sys., 130 F.Sup.3d 1213, 1215 (N.D. Ill. 2015) (“the MPEP is not binding law”).


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           Section 1 (Terms of Engagement) contains Haidri’s
            engagement letter with Trutek, (id. at p. 1);

           Section 2 (Findings and Conclusions) includes seven
            conclusory findings, all beginning with the legalistic phrase
            “The Amiji Report did not make a clear and convincing
            showing . . .” (id. at p. 2);

           Section 3 (Relevant Patent Statutes), Section 4 (The Clear
            and Convincing Standard of Proof), Section 5 (Standards for
            Inquiry into Patent Invalidity), and Section 6 (Knowledge of
            the Person of Ordinary Skill) consist entirely of recitations
            to and legal opinions on statutory interpretation, case law,
            and legal standards, (id. at pp. 3–28); and

           Section 7 (U.S. Patent No. 8,163,802, (The ’802 Patent)) is a
            summary of the text of the asserted patent, (id. at pp. 29–38).

       In Section 8, where Haidri addresses Dr. Amiji’s Opening Report, Haidri

 advances his views on the legal framework for determining patent invalidity, how

 the law should be applied to the facts, and Dr. Amiji’s (a technical expert) legal

 prowess. Haidri’s legal “opinions” are further misplaced as they are based on

 inaccurate legal standards, lack citation to legal authority, and/or are applicable

 only at the U.S. Patent and Trademark Office (i.e., provisions of the MPEP that

 apply to patent examiners but not courts). For example, in Subsection A, related to

 ineligible subject matter, in addition to reciting his understanding of the applicable

 law, Haidri argues:

           “Amiji misinterprets 35 U.S.C. § 101 and is generally
            unaware of the law and the steps that USPTO patent
            examiners take to examine for subject matter eligibility,”
            (id. p. 42);


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            “Under a clear and convincing evidentiary standard, in order
             to prove invalidity based on ineligible subject matter, the
             challenger would need to show either that Examiner Henley
             did not seek to determine whether the claims were directed
             to eligible subject matter or that no reasonable examiner
             would have allowed the application to issue as a patent
             based on the conclusions set forth by Amiji,” (id.); and

            “the Amiji Report did not make a clear and convincing
             showing that claims 1, 2, 6, and 7 are invalid for being
             directed to ineligible subject matter under 35 U.S.C. § 101,”
             (id.).

 In Subsection B, related to credible utility, Haidri similarly argues:

            “Amiji misunderstands the law,” (id. at p. 43);

            “There are two aspects relevant to a utility determination.
             The first is satisfied when a patentee asserts a practical use
             for his invention,” (id.);

            “MPEP § 2107 instructs patent examiners as follows . . .
             Thus, if the inventor asserts that his invention is useful,
             patent examiners are instructed to rely on that assertion,”
             (id.);

            “Rejections under 35 U.S.C. 101 based on lack of credible
             utility have been sustained by federal courts when . . .,” (id.
             at p. 44);

            “Under a clear and convincing evidentiary standard in order
             to prove invalidity based [on] lack of credible utility, the
             challenger would need to show either that Examiner Henley
             did not seek to determine whether the claims had credible
             utility or that no reasonable examiner would have allowed
             the application to issue as a patent based on the conclusions
             put forth by Amiji,” (id. at p. 45);

            “the Amiji Report did not make a clear and convincing
             showing that claims 1, 2, 6, 7 are invalid for lack of credible
             utility under 35 U.S.C. § 101,” (id.).


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 In Subsection C, related to enablement, Haidri argues:

           “[u]nder the clear and convincing evidentiary standard, the
            challenger would need to show that no reasonable examiner
            would have rejected the claims for lack of enablement,” (id.
            at p. 49); and

           “the Amiji Report did not make a clear and convincing
            showing that claims 1, 2, 6, 7 are invalid for lack of
            enablement,” (id.).

 In Subsection D, related to written description, Haidri argues:

           “The written description requirement of 35 U.S.C. § 112(a)
            is that it must be complete enough as to enable a person of
            ordinary skill to make and use the invention. It does not
            need to teach the prior art to those who are unfamiliar with
            it. It is not necessary to publish results of experiments,” (id.
            at p. 51);

           “Thus, the fact finder clearly considered whether the written
            description requirement of § 112(a) was fulfilled,” (id.)

           “under a clear and convincing standard, invalidity of the
            claims for failure to fulfill the written description
            requirement can be made only if it can be shown that no
            reasonable examiner would have allowed the claims,” (id. at
            p. 52); and

           “the Amiji Report did not make a clear and convincing
            showing that claims 1, 2, 6, and 7 are invalid for lack of
            adequate description,” (id.).

 In Subsections E, F, and G, related to anticipation and obviousness, Haidri argues:

           “[b]ecause a clear and convincing showing is required to
            invalidate a patent, the fact that the examiner considered
            these two prior art references and allowed the patent
            application to issue as the ’802 Patent should be given great
            deference,” (id. at p. 55);

             “the Amiji Report did not make a clear and convincing

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               showing that claims 1, 2, 6, and 7 are invalid in view of
               Wahi ’488 alone,” (id.)2;

             “[b]ecause a clear and convincing showing is required to
              invalidate a patent, the fact that the examiner considered this
              prior art reference and allowed the patent application to
              issue as the ’802 Patent should be given great deference,” (id
              at p. 76).

       In Section 9 (Secondary Consideration - Commercial Success), Haidri

 recites case law related to secondary considerations and asserts—without factual

 foundation, technical analysis, or support—that the “commercial success of the

 NasalGuard® products is due to the products’ performance according to the ’802

 Patent.” (Id. at p. 78.) In forming his opinion, Haidri relied solely on alleged sales

 numbers provided orally by Trutek’s counsel. (See Ex. 3, Haidri Dep. Tr., 91:8–

 93:2.) He also admitted he was merely “told” that Trutek products (i.e.,

 NasalGuard) include ingredients cited in the ’802 patent. (Id. at 83:20–24.) Haidri

 also asserts, without factual support, that “[a]ll products sold in the United States

 [by Trutek] had the ’802 Patent number printed on the packaging.” (Ex. 2, p. 77.)

       2.      Haidri’s Lack of Qualifications Regarding the Pertinent Art

       Haidri has a B.S. in Chemical Engineering, Masters in Organic Chemistry,

 and J.D. (See id. at Ex. A.) His only experience even tangentially related to the

 pertinent art, asserted invention, and accused product arises out of his career as a


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   Haidri makes the exact same assertions for every item of prior art and
 combination identified by Dr. Amiji. (Ex. 2, pp. 60, 64, 67, 68, 71, 74.)


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 patent attorney (which is insufficient under binding case law). Aside from being a

 lawyer, Haidri lacks practical, technical and clinical experience in formulating:

           (1)   pharmaceutical compositions that are intended to inhibit
                 the nasal inhalation of any environmental particulate
                 matters, (Ex. 3, Haidri Dep. Tr., 52:3–8);

           (2)   pharmaceutical compositions that are intended to capture
                 and hold particulate matter within the human nose, (id. at
                 52:9–14);

           (3)   pharmaceutical compositions that comprise cationic or
                 anionic agents, (id. at 52:15–19);

           (4)   pharmaceutical compositions that comprise biocidic
                 agents, (id. at 53:2–6);

           (5)   pharmaceutical compositions with biocidic agents for
                 application for nasal administration, (id. at 53:7–12);

           (6)   pharmaceutical compositions that use biocidic agents for
                 the purpose of inhibiting infection by bacteria or viruses,
                 (id. at 53:21–54:1); and

           (7)   pharmaceutical products intended to prevent infection
                 caused by the common cold, (id. at 55:1–6).

 Haidri lacks practical, technical, and clinical experience in testing:

           (1)   pharmaceutical compositions to confirm whether they
                 will work for their intended purpose, (id. at 54:2–7);

           (2)   pharmaceutical compositions to determine if they are
                 affective to capture and hold particulate matter within the
                 nose or nasal passage, (id. at 54:8–13); and

           (3)   pharmaceutical compositions to determine if they are
                 effective to inhibit infection by bacteria or viruses, (id. at
                 54:14–19).

 In fact, Haidri lacks experience in human clinical testing and product development


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 altogether. (Id. at 56:1–19.) The only presumable basis for arguing Haidri is

 qualified as a technical expert is that he has a chemistry degree and is a patent

 attorney—both of which are insufficient under binding precedent.

                            III.   LEGAL STANDARD

       As the proponent of expert testimony, Trutek bears the burden of establishing

 its admissibility. EEOC v. Kaplan Higher Educ. Corp., 748 F. 3d 749, 752 (6th Cir.

 2014). Trutek must demonstrate the “validity and reliability of [its expert’s]

 theories.” Berry v. Crown Equip. Corp., 108 F.Supp.2d 743, 749 (E.D. Mich. 2000).

       Federal Rule of Evidence 702, as explicated in Daubert, governs the

 admissibility of expert testimony. Rule 702 provides:

          A witness who is qualified as an expert by knowledge, skill,
          experience, training, or education may testify in the form of an
          opinion or otherwise if:

              (a) the expert’s scientific, technical, or other specialized
              knowledge will help the trier of fact to understand the
              evidence or to determine a fact in issue;

              (b)   the testimony is based on sufficient facts or data;

              (c) the testimony is the product of reliable principles and
              methods; and

              (d) the expert has reliably applied the principles and
              methods to the facts of the case.

 Fed. R. Evid. 702 (emphasis added).

       As a threshold matter, admissible expert testimony must assist the trier of



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 fact to be admissible. See id. The Sixth Circuit has expressly and unequivocally

 held that “recitation of legal principles . . . is not appropriate expert testimony.”

 Killion v. KeHE Distribs., LLC, 761 F.3d 574, 592–93 (6th Cir. 2014). Experts

 may be qualified “to assist the trier of fact” but are “not qualified to compete with

 the judge in the function of instructing the jury . . . .” Berry v. City of Detroit, 25

 F.3d 1342, 1354 (6th Cir. 1994).

       Once the subject matter of proposed expert testimony is deemed appropriate,

 Rule 702 requires courts to ensure that proffered expert testimony is reliable and

 relevant. Daubert, 509 U.S. at 597. “[T]he trial court must determine whether the

 expert's training and qualifications relate to the subject matter of his proposed

 testimony.” Berry, 108 F. Supp.2d at 749. To qualify as an expert under Rule 702,

 “a witness must first establish his [or her] expertise by reference to his [or her]

 ‘knowledge, skill, experience, training, or education.’” Eiben v. Gorilla Ladder

 Co., No. 11-CV-10298, 2013 WL 1721677, at *11 (E.D. Mich. April 22, 2013).

 Specifically for patent invalidity issues (the only issue on which Haidri offers

 opinions), the Federal Circuit has made clear that an expert must also demonstrate

 he or she has “skill in the pertinent art.” Sundance, Inc. v. DeMonte Fabricating

 Ltd., 550 F.3d 1356, 1363 (Fed. Cir. 2008) (“We hold that it is an abuse of

 discretion to permit a witness to testify as an expert on the issues of . . . invalidity

 unless that witness is qualified as an expert in the pertinent art.”).



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       If the proposed expert “has crossed the foundational threshold of establishing

 his personal background qualifications as an expert, he must then provide further

 foundational testimony as to the validity and reliability of his theories.” Berry, 108

 F. Supp. 2d at 749. A methodology cannot be considered reliable unless, at a

 minimum, it is based on objective criteria and subject to independent validation.

 Smelser v. Norfolk S. Ry., 105 F.3d 299, 303 (6th Cir. 1997).

                                 IV.    ARGUMENT

       Trutek cannot meet its burden to establish that: (a) Haidri’s proposed

 testimony is directed to admissible subject matter given that his Report consists

 entirely of legal argumentation; (b) Haidri is qualified to serve as a technical expert

 given his lack of experience and qualifications in the pertinent art; and (c) Haidri

 employed a scientifically testable and verifiable methodology.

 A.    Haidri’s Proposed Testimony Consists of Purely Legal Arguments and
       is Not Directed to Admissible Subject Matter

       Federal Rule of Evidence 702 foundationally requires that, to be admissible,

 proposed expert testimony must assist the trier of fact. The Sixth Circuit has

 expressly held that “recitation of legal principles . . . is not appropriate expert

 testimony.” Killion, 761 F.3d at 592. Experts may be qualified “to assist the trier of

 fact” but are “not qualified to compete with the judge in the function of instructing

 the jury . . . .” Berry, 25 F.3d at 1354. “[I]t is axiomatic that the judge is sole

 arbiter of the law and its applicability.” Specht v. Jensen, 853 F.2d 805, 807 (10th


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 Cir. 1988). From both the advisory committee’s comments on Federal Rule of

 Evidence 702 and well established case law, it indisputable that “an expert witness

 may not give an opinion on ultimate issues of law.” Id. at 808 (collecting cases)

 (citing United States v. Zipkin, 729 F.2d 384, 387 (6th Cir. 1984)).

       However, this is exactly what Haidri’s proposed testimony entails—in its

 entirety. Indeed, Haidri goes well beyond simply stating the legal principles he

 applied. Rather, his expert report reads like a legal brief, e.g., explaining how

 patent examiners apply the MPEP and his opinions on what a defendant must

 prove to demonstrate patent invalidity (often relying on incorrect and/or

 inapplicable legal standards). He also summarily advances unsupported and

 conclusory opinions as to underlying factual questions regarding whether the

 asserted patent is invalid, without having the appropriate technical background or

 qualifications to do so.

       “While expert testimony can be used to provide evidence of the state of the

 art, how one of ordinary skill in the art would understand the prior art references,

 and whether one of ordinary skill in the art would have been motivated to combine

 or modify prior art references in a manner that yields the claimed invention, it is

 improper to provide testimony that is merely a legal conclusion.” Indect USA

 Corp. v. Park Assist, LLC, No. 18-cv-02409, 2021 WL 4428923, at *4 (S.D. Cal.

 Sept. 24, 2021); see also MediaTek Inc. v. Freescale Semiconductor, Inc., No. 11–



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 cv–5341–YGR, 2014 WL 971765, at *5 (N.D. Cal. Mar. 5, 2014) (excluding

 opinion engaging in claim construction and “relying heavily on the prosecution

 history, specifications, and even provisional applications to explain and expound

 upon a specific meaning and/or requirements of the terms identified”).

       Indeed, Haidri’s conclusory opinions lack probative technical support and

 are directed to ultimate legal determinations. For example:

           Section 2 (Findings and Conclusions) includes seven
          findings all beginning with the legal phrase “The Amiji Report
          did not make a clear and convincing showing . . .” (Ex. 2, p. 2);

           Section 3 (Relevant Patent Statutes), Section 4 (The Clear
          and Convincing Standard of Proof), Section 5 (Standards for
          Inquiry into Patent Invalidity), and Section 6 (Knowledge of the
          Person of Ordinary Skill3) consist entirely of recitations to and
          legal opining on statutory interpretation, case law, and legal
          standards, (id. at pp. 3–28); and

           Section 7 (U.S. Patent No. 8,163,802, (The ’802 Patent)) is a
          summary of the text of the patent at issue, (id. at pp. 29–38).

 This is definitively not proper subject for expert testimony. See Lanard Toys Ltd. v.

 Anker Play Prods., LLC, No. CV 19-4350, 2020 WL 6783647, at *4 (C.D. Cal.

 Nov. 12, 2020) (“Delman’s opinion on the weight of Gottlieb's testimony is not

 helpful to the jury. Further, much of the Delman report contains legal conclusions

 and legal analysis, including a thorough discussion of the case law which is not the


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   It is unclear how Haidri should be permitted to testify as to the appropriate level
 of skill in the art when he lacks even the basic level of experience he advocates is
 required. (Compare Ex. 2, Haidri Report, pp. 26–27 with supra Section II(B)(2).)


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 proper subject of expert testimony.”).

       In Section 8, where Haidri addresses Dr. Amiji’s Opening Report, Haidri

 advances a purely legal analysis. Indeed, Haidri repeatedly argues, and ultimately

 concludes on every issue, that Amiji’s Report is not legally sufficient under a clear

 and convincing evidence standard. See supra Section II(B)(1). By way of example,

 Haidri’s analysis in Section VIII(A) (Patent Eligible Subject Matter) provides his

 opinions on legal standards, a conclusory recitation of what the asserted patent

 describes,4 and an ultimate conclusion of law regarding the legal sufficiency of Dr.

 Amiji’s report. (Ex. 2, Haidri Report, pp. 39–41). The remaining sections of

 Haidri’s analysis suffers from the same flaws.

       Despite assertions to the contrary, “an expert may not state his or her

 opinion as to legal standards . . . .” Okland Oil Co. v. Conoco, Inc., 144 F.3d 1308,

 1328 (10th Cir. 1998). As is the case here, a patent lawyer’s expert report (and

 related testimony) must be excluded when it “read[s] much like trial briefs,”

 “consist[s] of the application of well-established legal standards,” and merely

 renders a legal conclusion based on a summary of perceived facts. See SFG, Inc. v.

 Musk, No. 19-cv-02198, 2019 WL 8353110, at *2 (N.D. Ill. July 31, 2019).


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   As explained in the following section, Haidri lacks the appropriate qualifications
 to provide analysis or opinions as to the asserted patent, the prior art, and the issues
 of invalidity—“each of which are exclusively determined from the perspective of a
 person of ordinary skill in the art.” Sundance, 550 F.3d at 1361.


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 B.    Haidri is Facially Not Qualified under Daubert

       Under binding Federal Circuit case law, an expert must demonstrate he or

 she has “skill in the pertinent art.” Sundance, 550 F.3d at 1361, 1363 (excluding

 patent attorney testimony as the expert “offered expert testimony on several issues

 that are determined from the perspective of ordinary skill in the art,” including

 “how the disclosed invention and prior art operate, including [] opinions as to []

 noninfringement and invalidity,” “[d]espite the absence of any suggestion of []

 relevant technical expertise”). “Admitting testimony from a person such as

 [Haidri], with no skill in the pertinent art, serves only to cause mischief and

 confuse the factfinder. Unless a patent lawyer is also a qualified technical expert,

 his testimony on [] technical issues is improper and thus inadmissible.” Id.

 “Allowing a patent law expert without [] technical expertise to testify on the issues

 of [] validity amounts to nothing more than advocacy from the witness stand.” Id.

 at 1364–65. Indeed, the Federal Circuit has, on “several occasions,” upheld the

 exclusion of testimony by a supposed patent law expert. Id. at 1363 (collecting

 cases). Here, Haidri’s lack of technical expertise in the pertinent art is undeniable.

       Aside from his work as a patent attorney, Haidri testified that he lacks

 hands-on experience in formulating:

           (1)   pharmaceutical compositions that are intended to inhibit
                 the nasal inhalation of any environmental particulate
                 matters, (Ex. 3, Haidri Dep. Tr., 52:3–8);



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           (2)      pharmaceutical compositions that are intended to capture
                    and hold particulate matter within the human nose, (id. at
                    52:9–14));

           (3)      pharmaceutical compositions that comprise cationic or
                    anionic agents, (id. at 52:15–19);

           (4)      pharmaceutical compositions that comprise biocidic
                    agents, (id. at 53:2–6);

           (5)      pharmaceutical compositions with biocidic agents for
                    application for nasal administration, (id. at 53:7–12);

           (6)      pharmaceutical compositions that use biocidic agents for
                    the purpose of inhibiting infection by bacteria or viruses,
                    (id. at 53:21–54:1); and

           (7)      pharmaceutical products intended to prevent infection
                    caused by the common cold, (id. at 55:1–6).

 Aside from his work as a patent attorney, Haidri testified that he lacks hands-on

 experience in testing:

              (1)      pharmaceutical compositions to confirm whether
                       they will work for their intended purpose, (id. at
                       54:2–7);

              (2)      pharmaceutical compositions to determine if they
                       are affective to capture and hold particulate matter
                       within the nose or nasal passage, (id. at 54:8–13);
                       and

              (3)      pharmaceutical compositions to determine if they
                       are effective to inhibit infection by bacteria or
                       viruses, (id. at 54:14–19).

 Indeed, Haidri has no experience in human clinical testing of pharmaceutical

 products or developing pharmaceutical products (let alone in the pertinent space).

 (Id. at 56:1–19.) It is not sufficient that Haidri is qualified in something; his


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 qualifications must “provide a foundation for a witness to answer a specific

 question.” Smelser, 105 F.3d at 303; see also Meridia Prods. Liab. Litig. v. Abbot

 Labs., 447 F.3d 861, 868 (6th Cir. 2006). Haidri has “never given lectures, taught

 any courses, or authored any articles or books on the subjects” related to the alleged

 invention or accused product. See Malin v. JP Morgan Chase Bank, N.A., No. 3:11-

 CV-554, 2013 WL 12123511, at *3 (E.D. Tenn. May 7, 2013). In addition, merely

 possessing a “degree” is not sufficient to permit testimony on any issue within a

 field. See Ralston v. Smith & Nephew Richards, Inc., 275 F.3d 965, 970 (10th Cir.

 2001) (“merely possessing a medical degree is not sufficient to permit a physician

 to testify concerning any medical-related issue”).

       Nor is it sufficient, as Trutek may argue, that a person has related experience

 in patent prosecution to satisfy Daubert. Any technical qualifications that arise

 solely from a patent attorney’s experience in prosecuting patents does not qualify

 such person to provide testimony on issues of patent validity. Like in Sundance,

 Haidri’s only experience in the relevant field comes from prosecuting patent

 applications. (See Ex. 3, Haidri Dep Tr., 48:6–24; 50:20–56:19). Sundance, 550

 F.3d at 1362, n. 4 (excluding expert testimony where the only example of

 experience “in the [] field” was the result of the expert’s experience “in prosecuting

 patent applications”). Similarly, Haidri makes no mention in his expert report, or

 his CV, regarding any technical qualifications or practical experience he possesses



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 in the relevant field.5 Indeed, both focus exclusively on Haidri’s years of experience

 as a patent lawyer. Cf. id. Perhaps more concerning, Haidri does not even satisfy

 Trutek’s lower definition of a person of ordinary skill in the art—i.e., he does not

 have any experience in making chemical formulations, let alone years of such

 experience. (Ex. 2, Haidri Report, p. 27 (“[T]he minimum requirement for a person

 of ordinary skill is that he should have adequate experience in making chemical

 formulations” and further providing an example of a “chemical laboratory technical

 who has several years experience in making chemical formulations of the type

 discussed in the patent specification.”).) See also Sundance, 550 F.3d at 1362, n. 4

 (noting expert’s definition of person of ordinary skill required “one or more years

 of experience in the field of tarps or covers—experience that he himself lacks”).

       “This is a straight forward issue.” Bayer Healthcare Pharma., Inv. v. River’s

 Edge Pharma., LLC, No. 1:11-CV-1634, 2015 WL 11122102, at *12 (N.D. Ga.

 Feb. 17, 2015) (quoting Sundance, 550 F.3d at 1364) (collecting cases) (excluding

 patent attorney’s testimony in pharmaceutical case). “Sundance could not be

 clearer: patent attorneys are not only prohibited from providing expert testimony on

 the issues of [] validity, but also from testifying about ‘any of the underlying

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   Notably, apart from a cover letter providing the “terms of engagement” that
 merely refer to his degrees and licensure as a practicing patent attorney, Haidri’s
 Report provides no explanation of his supposed qualifications. (Ex. 2, Haidri
 Report, p. 1.) Likewise, Haidri’s CV details an employment history exclusively
 related to trademark and patent law. (Ex. 3, Haidri Dep. Tr., Ex. A, pp. 45–48).


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 technical questions, such as the nature of the claimed invention, the scope and

 content of prior art, the differences between the claimed invention and the prior art,

 or the motivation of one of ordinary skill in the art to combine these references to

 achieve the claimed invention.’” Id.

 C.    Haidri Failed to Employ a Reliable Methodology

       If a proposed expert “has crossed the foundational threshold of establishing

 his personal background qualifications as an expert, he must then provide further

 foundational testimony as to the validity and reliability of his theories.” Berry, 108

 F. Supp. 2d at 749. Haidri’s Report is fundamentally flawed as his “methodology”:

 (1) cannot be objectively or independently verified, and (2) relies on insufficient

 legal bases and factual predicates.

       1.     Haidri’s methodology is not objectively or independently verifiable

       A methodology cannot be considered reliable unless, at a minimum, it is

 based on objective criteria and subject to independent validation. Smelser, 105 F.3d

 at 303; see also Moore v. Ashland Chem., Inc., 151 F.3d 269, 276 (5th Cir. 1998);

 United States v. Orr, 692 F.3d 1079, 1093–94 (10th Cir. 2012) (finding

 methodology unreliable because it was untested and based on subjective and

 arbitrary assumptions). Here, Haidri’s report does not cite any methodology, let

 alone a sufficiently reliable methodology. That is dispositive. See Kothmann

 Enterprises, Inc. v. Trinity Indus., Inc., No. H-01-2668, 2005 WL 8166202, at *3



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 (S.D. Tex. Mar. 29, 2005) (excluding patent lawyer testimony lacking basis in

 recognized methodology); Apple, Inc. v. Samsung Electronics Co., Ltd., No. 11-CV-

 01846, 2012 WL 2571332, at *6 (N.D. Cal. June 30, 2012) (excluding expert

 testimony lacking citation to source for methodology or peer-reviewed method).

       2.     Haidri relied on flawed legal standards and factual predicates

       In order for expert testimony to be admissible, it must be based on accurate

 legal standards. See Ford Motor Co. v. Versata Software, Inc., No. 15-cv-11624,

 2018 WL 10733561, at *5, 15 (E.D. Mich. July 9, 2018) (collecting cases)

 (excluding several expert reports). Courts are similarly “obliged to screen expert

 testimony to ensure it stems from, not just a reliable methodology, but also a

 sufficient factual basis and reliable application of the methodology to the facts.”

 KW Plastics v. U.S. Can Co., 131 F.Supp.2d 1289, 1292 (M.D. Ala. 2001) (citation

 omitted). Expert testimony must rely on a valid connection between facts and the

 relevant legal inquiry. See Federal-Mogul Corp. v. Ins. Co. of Pa., No. 12005, 2016

 WL 4486996, *3 (E.D. Mich. Aug. 26, 2016) Haidri, however, improperly relied on

 erroneous legal standards and factual predicates.

       As a prime example of Haidri’s flawed legal assumptions, Haidri opines the

 clear and convincing evidence standard requires proof that no reasonable

 examiner would have rejected a claim to establish invalidity. (Ex. 2, Haidri

 Report, pp. 7, 11, 12, 42, 45, 49, 52.) Problematically, the “no reasonable



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 examiner” standard has only been applied in the limited context of the

 “materiality” element for inequitable conduct defenses – a defense that is not even

 raised in this litigation. Cf. Therasense, Inc. v. Becton, Dickinson, 649 F.3d 1276,

 1288 (Fed. Cir. 2011). And, even then, the Federal Circuit eventually rejected the

 standard. See id.

       Similarly, Haidri’s repeated reliance on USPTO guidelines and the MPEP is

 misplaced, as neither are binding on courts. See Enzo, 323 F.3d at 964;

 Hagenbuch, 130 F.Sup.3d at 1215. Simply, an examiner’s analysis is generally

 irrelevant to the question of invalidity. Cf. Iron Grip Barbell Co., Inc. v. USA

 Sports, Inc., 392 F.3d 1317, 1323 (Fed. Cir. 2005) (“the grant of a patent does not

 create a presumption of validity beyond the requirement that the party seeking to

 invalidate a patent must prove invalidity by clear and convincing evidence”).

       Nor is it appropriate for a legal expert to speculate about what occurred in

 the mind of an examiner, such as Haidri’s opinion that “the fact finder clearly

 considered whether the written description requirement of § 112(a) was fulfilled”

 (Ex. 2 at 51). Zimmer Surgical, Inc. v. Stryker Corp., 365 F. Supp. 3d 466, 479–80

 (D. Del. 2019). In other instances, Haidri applies the wrong version of the patent

 statute and misstates the law. (E.g., Ex. 2 at 51 (explaining the “written description

 requirement of 35 U.S.C. § 112(a) is that it must be complete enough as to enable a

 person of ordinary skill to make and use the invention”).) More specifically,



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 Section 112(a) is a designation of the AIA version of the statute, whereas the pre-

 AIA version applies to the ’802 patent. Haidri’s explanation of the written

 description requirement is likewise flawed.6

       As an example of his numerous factually flawed assumptions, Haidri relied

 on sales summarily provided by Trutek’s counsel when concluding (a) Trutek’s

 products were successful solely because of the alleged patented invention, and (b)

 “[a]ll products sold in the United States [by Trutek] had the ’802 Patent number

 printed on the packaging.” (Ex. 3, Haidri Dep. Tr., 91:8–93:2; Ex. 2, Haidri

 Report, p. 77.) Haidri, however, offers no independent factual support for these

 assertions. To the contrary, he admitted he does not know the ingredients in

 NasalGuard and was merely “told” that Trutek’s products include ingredients cited

 in the ’802 patent. (Ex. 3, Haidri Dep. Tr., 83:20–84:1.) Courts have consistently

 excluded testimony predicated on such uncritical acceptance of spoon-fed

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   Haidri statement of the written description requirement applies to the enablement
 standard, not written description. Ariad Pharms., Inc. v. Eli Lilly & Co., 598 F.3d
 1336, 1340 (Fed. Cir. 2010) (en banc) (Section 112, first paragraph “contains a
 written description requirement separate from enablement”). Written description
 requires the specification to clearly allow “persons of ordinary skill in the art to
 recognize that [the inventor] invented what is claimed.” Id. at 1351. The “test for
 sufficiency is whether the disclosure of the application relied upon reasonably
 conveys to those skilled in the art that the inventor had possession of the claimed
 subject matter as of the filing date.” Id. Moreover, “the test requires an objective
 inquiry into the four corners of the specification from the perspective of a person
 of ordinary skill in the art.” Id. As such, evidence such as the clinical report that
 Haidri relies on (attached as Exhibit D to his report) is irrelevant for written
 description.


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 information. See Campbell v. AMTRAK, 311 F.Supp.3d 281, 301 (D.D.C. 2018);

 Mathison v. Boston Sci. Corp., No. 2:13-cv-05851, 2015 WL 2124991, at *25

 (S.D.W. Va. May 6, 2015); cf. In re Lipitor (Atorvastatin Calcium) MKtg. v. Pfizer,

 Inc., 892 F.3d 624, 634 (4th Cir. 2018).

                               V.    CONCLUSION

       For the reasons stated herein, BlueWillow requests that the Court exclude

 the Responsive Expert Report and testimony of Haidri in its entirety.

 Dated: March 15, 2023               Respectfully submitted

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                          CERTIFICATE OF SERVICE

       I hereby certify that, on March 15, 2023, I filed the foregoing document and

 this Certificate of Service with the Court using the ECF system.



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